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                    IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION




UNITED STATES OF AMERICA                                                           PLAINTIFF

V.                                   NO. 4:08CR00290-003 SWW

MAISHA A. LAND                                                                    DEFENDANT



                                                ORDER

        Before the Court is the government’s petition to revoke defendant’s supervised release and a request

that a summons be issued for the hearing [doc #159] as to the above-named defendant.

        A hearing is scheduled on FRIDAY, MARCH 29, 2013 AT 2:00 P.M. in Courtroom #389, Richard

Sheppard Arnold United States Courthouse, 600 West Capitol Avenue, Little Rock, Arkansas, to show cause

why the supervised release previously granted this defendant should not be revoked.

        IT IS THEREFORE ORDERED that the Clerk of Court is directed to issue a summons for Maisha

A. Land, and the United States Marshal is directed to serve the summons in this matter upon defendant.

        IT IS SO ORDERED this 14th day of February 2013.



                                                         /s/Susan Webber Wright
                                                         UNITED STATES DISTRICT JUDGE
